                                         IN THE
                              UNITED STATES DISTRICT COURT
                                        FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

  UNITED STATES OF AMERICA    :
                              :
      v.                      :                         Criminal Number: 4:18-CR-00012
                              :
  TREDARIOUS JAMERIQUAN KEENE :
           Defendant.         :


               GOVERNMENT’S SECOND DEMAND FOR NOTICE OF ALIBI

         Pursuant to Fed. R. Crim. P. 12.1(a), you are informed that at the time and on the date set

  forth below, the identified crimes were committed and with which you have been charged by

  Indictment. Demand is hereby made upon you to furnish the United States with a written notice

  of your intention to offer an alibi defense within fourteen (14) days of this demand.

     Offense(s) and         Date of Offense            Time of Offense       Location of Offense
      Count(s) of
      Superseding
       Indictment
  VICAR Attempted        June 15, 2019            10:00 p.m. to 11:00       Southwyck Hills
  Murder of Armonti                               p.m.                      Apartments, Danville,
  Womack (Count                                                             Virginia
  Two); VICAR
  Attempted Murder
  of Dwight Harris
  (Count Six)
  VICAR Murder of        August 20, 2016          12 noon to 2:00 p.m.      124 Forest Lawn Drive,
  Christopher Motley                              (Time of one of           Danville, Virginia
  (Count 10); VICAR                               alleged planning
  Attempted Murder                                meetings for murder)
  of Justion Wilson
  (Count 12)




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  VICAR Murder of        August 20, 2016          10:00 p.m. to 11:00       Southwyck Hills
  Christopher Motley                              p.m. (Shooting of         Apartments, Danville,
  (Count 10); VICAR                               Christopher Motley        Virginia
  Attempted Murder                                and at Justion
  of Justion Wilson                               Wilson)
  (Count 12)


         Pursuant to Fed. R. Crim. P 12.1(a)(2), in the event that you intend to offer an alibi

  defense, you are required to disclose (A) each specific place you claim to have been at the time of

  the offense, and (B) the names, addresses, and telephone numbers of the witnesses upon whom

  you intend to rely.

         The failure to comply with such request permits the court to exclude any testimony from

  an undisclosed witness as set forth in Fed. R. Crim. P. 12.1(d). See, United States v. Pearson, 159

  F.3d 480, 483 (10th Cir. 1998), citing United States v. Davis, 40 F.3d 1069, 1076 (10th Cir. 1994),

  and United States v. Fitts, 576 F.2d 837 (10th Cir. 1978); United States v. Barron, 575 F.2d 752,

  755-758 (9th Cir. 1978); See United States v. Webster, 769 F.2d 487, 490 (8th Cir. 1985); cf.

  Taylor v. Illinois, 108 S.Ct 646 (1988).

                                                       Respectfully submitted,

                                                       THOMAS T. CULLEN
                                                       UNITED STATES ATTORNEY

                                                       /s/ Ronald M Huber________________
                                                       Ronald M. Huber
                                                       Heather L. Carlton
                                                       Assistant United States Attorneys

                                                       Michael J. Newman
                                                       Special Assistant United States Attorney

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                                                       ron.huber@usdoj.gov
                                                       Heather.Carlton@usdoj.gov
                                                       newmamj@danvilleva.gov



                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of June, 2019, I caused a copy of the foregoing

  Government’s Second Demand for Notice of Alibi to be served by ECF, which provides services

  on all counsel of record.




                                                       /s/ Ronald M Huber________________
                                                       Ronald M. Huber (VA Bar #31135)
                                                       Assistant United States Attorneys




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